 Case 2:20-cv-11181-CAS-JPR Document 84 Filed 03/04/22 Page 1 of 24 Page ID #:1645




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 7
 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
11
         NEMAN BROTHERS & ASSOC.,                    Case No.: 2:20-cv-11181-CAS-JPR
12
         INC., a California Corporation;
13                                                   NEMAN BROTHERS & ASSOC.,
                   Plaintiff/Counter-Defendant,      INC.’S BRIEF ON THE U.S.
14
                                                     SUPREME COURT’S DECISION IN
15                 vs.                               UNICOLORS, INC.
16       INTERFOCUS, INC., a California              Honorable Judge Christina A. Snyder
17       Corporation, et al.,
                    Defendant/Counter-Claimant
18
19
20
21
              PLAINTIFF NEMAN BROTHERS HEREBY submits this brief about the recent
22
     decision made by the U.S. Supreme Court (“Supreme Court”) on the matter of Unicolors,
23
     Inc. v. H&M Hennes & Mauritz, L.P. (2022 WL 547681)1 as of February 24, 2022
24
     because the Court’s ruling (DKT No. 82, pp.26-27 of 29) in this case was heavily relying
25
26
27
     1
             The entire text of the Supreme Court’s decision downloaded from Westlaw is attached
28   hereto as Exhibit “A”.
                                           1
                                 NEMAN BROTHERS’ BRIEF
                 ON THE U.S. SUPREME COURT’S DECISION IN UNICOLORS, INC.
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 1
     on the 9th Circuit Court’s decision Unicolors, Inc. v. v. H&M Hennes & Mauritz, L.P.
     (2020) 959 F.3d 1194 that has been vacated by the Supreme Court.
 2
            The Supreme Court held that Section 411(b) does not distinguish between a
 3
     mistake of law and a mistake of fact and therefore, the lack of either factual or legal
 4
     knowledge on the part of a copyright holder can excuse an inaccuracy in a copyright
 5
     registration under the Copyright Act’s safe-harbor provision. Unicolors, Inc. v. H&M
 6
     Hennes & Mauritz, L.P., 2022 WL 547681.
 7
            The Supreme Court vacated the decision of the 9th Circuit Court’s decision in
 8
     Unicolors stating “it did not matter whether Unicolors was aware that “it had failed to
 9
     satisfy the single unit of publication requirement, because the safe harbor excuses only
10
     good-faith mistakes of fact, not law.” Unicolors, Inc. v. H&M Hennes & Mauritz, L.P.,
11
     2022 WL 547681, p.1.
12
            The Supreme Court held;
13
                   Naturally, the information provided on the application for registration should
14
               be accurate. Nevertheless, the Copyright Act provides a safe harbor. It says that
15
               a certificate of registration is valid “regardless of whether the certificate contains
16
               any inaccurate information, unless “(A) the inaccurate information was included
17
               on the application for copyright registration with knowledge that it was
18
               inaccurate; and “(B) the inaccuracy of the information, if known, would have
19             caused the Register of Copyrights to refuse registration.” § 411(b)(1) (emphasis
20             added)…
21                 The question before us concerns the scope of the phrase “with knowledge
22             that it was inaccurate.” The Court of Appeals for the Ninth Circuit believed
23             that a copyright holder cannot benefit from the safe harbor and save its copyright
24             registration from invalidation if its lack of knowledge stems from a failure to
25             understand the law rather than a failure to understand the facts. In our view,
26             however, § 411(b) does not distinguish between a mistake of law and a mistake
27             of fact. Lack of knowledge of either fact or law can excuse an inaccuracy in
28             a copyright registration.

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                                NEMAN BROTHERS’ BRIEF
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 1
                (emphasis added) Id. at 2-3.

 2
            In Unicolors, H&M argued that the 31 fabric designs covered by Unicolors’ single
 3
     application (and therefore single registration) had not been published as a single unit of
 4
     publication because Unicolors had initially made some of the designs available for sale
 5
     exclusively to certain customers, while other designs were immediately available to the
 6
     general public. App. 170–171. Because the first statutory requirement for invalidating
 7
     Unicolors’ registration (a knowing inaccuracy) was satisfied, H&M argued, the District
 8
     Court should move to the second requirement and ask the Register of Copyrights whether
 9
     it would have refused to register Unicolors’ copyright if it had been aware of the
10
     inaccuracy. Id. at 3.
11
            The Supreme Court found that the 9th Circuit Court was wrong in overturning the
12
     right decision made by the honorable judge André Birotte Jr. who accurately ruled that
13
     “[b]ecause Unicolors did not know that it had failed to satisfy the “single unit of
14
     publication” requirement when it filed its application, the purported inaccuracy could
15
     not invalidate the registration.” Id. at 3. Along the line, the Supreme Court held;
16
                             Unicolors says that, when it submitted its registration application, it
17
                   was not aware (as the Ninth Circuit would later hold) that the 31 designs it
18
                   was registering together did not satisfy the “single unit of publication”
19                 requirement. If Unicolors was not aware of the legal requirement that
20                 rendered the information in its application inaccurate, it did not include
21                 that information in its application “with knowledge that it was
22                 inaccurate.” § 411(b)(1)(A) (emphasis added). Nothing in the statutory
23                 language suggests that this straightforward conclusion should be any
24                 different simply because there was a mistake of law as opposed to a mistake
25                 of fact.
26                           To the contrary, nearby statutory provisions help confirm that here
27                 “knowledge” refers to knowledge of the law as well as the facts. Registration
28                 applications call for information that requires both legal and factual

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                                NEMAN BROTHERS’ BRIEF
                ON THE U.S. SUPREME COURT’S DECISION IN UNICOLORS, INC.
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 1
                knowledge. See, e.g., § 409(4) (whether a work was made “for hire”); §
                409(8) (when and where the work was “published”); § 409(9) (whether the
 2
                work is “a compilation or derivative work”). Inaccurate information in a
 3
                registration is therefore equally (or more) likely to arise from a mistake
 4
                of law as a mistake of fact. That is especially true because applicants
 5
                include novelists, poets, painters, designers, and others without legal
 6
                training. Nothing in the statutory language suggests that Congress wanted
 7
                to forgive those applicants’ factual but not their (often esoteric) legal
 8
                mistakes.
 9
                Id. at 4.
10
11
         In this present case, the Court ruled that
12
                        With respect to 17 U.S.C. § 411 's statutory criteria, Neman
13
                Brothers' registrations for VAu-1-304-334 (Subject Design 1), VAu-1-317-
14
                742 (Subject Design 2), and VAu-1-330-970 (Subject Design 3) contain
15
                inaccurate information in that they do not identify third-party authors of the
16
                works contained in those registrations. See Unicolors, Inc., 959 F.3d at
17
                1197. Likewise, Neman Brothers was aware, at the time of applications,
18
                that listing itself as the only author for in the three copyright registrations
19              was inaccurate. Id.; see, e.g., Neman Depo. at 114:20-115:17 (stating that
20              some works in the Registration VAu-1-317-742 were "purchased from
21              other studios" and that "the fact that some of the works [] were purchased ...
22              would have been in Neman Brothers' records when [the] copyright
23              registration was filed"). Finally, the applications materials provided by
24              Neman Brothers, which list Neman Brothers as the sole author of all the
25              works included in applications associated with group copyright
26              registrations VAu-1-304-334, V Au-1-317-742, and VAu-1-330-970,
27              confirm that inaccurate information was "included on the application for
28              copyright registration." See Unicolors, Inc., 959 F.3d at 1197.

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                             NEMAN BROTHERS’ BRIEF
             ON THE U.S. SUPREME COURT’S DECISION IN UNICOLORS, INC.
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                           Accordingly, the Court finds that 17 U.S.C. § 411 's statutory
                    criteria are satisfied, and that it must issue a request to the Register of
 2
                    Copyrights to advise the Court whether knowledge of the third-party
 3
                    authorship of works included in VAu-1-304-334, VAu-1-317-742, and V
 4
                    Au-1-330-970 "would have caused the register to refuse registration."
 5
                    Palmer/Kane LLC, 188 F. Supp. 3d at 353. "If it is determined that a
 6
                    registration contains inaccurate information, and that the inaccurate
 7
                    information was included in the registration application with knowledge
 8
                    that the information was incorrect, and that the inaccurate information
 9
                    would have caused the Copyright Office to refuse registration, then [the
10
                    Court] may declare the registration invalid." Yellowcake, Inc., 522 F. Supp.
11
                    3d at 778.
12
                    (emphasis added) Minute Order (DKT No. 82, pp.26-27 of 29).
13
14
             As the Court found in its ruling, the facts are similar to the facts in Unicolors, and
15
     therefore, the Court applied mainly the 9th Circuit Court’s decision in analyzing the issue
16
     of the application of Section 411(b) that the defendant Interfocus argued for in its motion
17
     for summary judgment.
18
             The 9th Circuit Court in Unicolors focused only on whether the plaintiff knew
19   about the fact that some of the group designs were shown to third parties before the
20   registration date as a unpublished group, but not whether the plaintiff knew such fact
21   would form a publication of those designs shown, which in result make inaccurate the
22   statement on the application that all of the designs were unpublished as of the registration
23   date.
24           However, the question on the registration application of whether all of the designs
25   were not published, is a question of law and fact, requiring first of all the knowledge of the
26   “legal concept” of the publication, and then the ability to analyze the known facts based
27   thereupon. Therefore, the 9th Circuit Court’s ruling was nothing but a punishment for a
28   failure to understand the law rather than a failure to understand the facts, against

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                                 NEMAN BROTHERS’ BRIEF
                 ON THE U.S. SUPREME COURT’S DECISION IN UNICOLORS, INC.
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     innocent copyright owners who made merely inadvertent mistakes, not fraudulent
     misrepresentation to the copyright office at all, only to make more difficult, for
 2
     nonlawyers to obtain valid copyright registrations.
 3
            In response, the Supreme Court made it clear that under §411(b), knowledge that it
 4
     was inaccurate means subjective actual knowledge of both fact and law, and therefore,
 5
     lack of knowledge of either fact or law can excuse an inaccuracy in a copyright
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     registration. Id. at 4-5. (“nearby statutory provisions help confirm that here “knowledge”
 7
     refers to knowledge of the law as well as the facts. Registration applications call for
 8
     information that requires both legal and factual knowledge.” “Other provisions of the
 9
     Copyright Act confirm that, in this context, the word “knowledge” means actual,
10
     subjective awareness of both the facts and the law.” “cases decided before Congress
11
     enacted § 411(b) “overwhelming[ly held] that inadvertent mistakes on registration
12
     certificates [did] not invalidate a copyright and thus [did] not bar infringement
13
     actions.”” “those who consider legislative history will find that history persuasive here. It
14
     indicates that Congress enacted § 411(b) to make it easier, not more difficult, for
15
     nonlawyers to obtain valid copyright registrations. The House Report states that its purpose
16
     was to “improve intellectual property enforcement in the United States and abroad.”
17
     H. R. Rep. No. 110–617, p. 20 (2008). It did so in part by “eliminating loopholes that
18
     might prevent enforcement of otherwise validly registered copyrights.” Ibid.”
19   (emphasis added)).
20          The Ninth Circuit Court held that “the knowledge inquiry is not whether
21   Unicolors knew that including a mixture of confined and non-confined designs
22   would run afoul of the single-unit registration requirements; the inquiry is merely
23   whether Unicolors knew that certain designs included in the registration were
24   confined and, therefore, were each published separately to exclusive customers.”
25   (emphasis added) Id. at 6. And then, it further held that Unicolors’ knowledge of the facts
26   that produced the inaccuracy was sufficient to demonstrate its knowledge of the
27   inaccuracy itself under § 411(b)(1)(A). Unicolors’ knowledge of the relevant law was
28   irrelevant.” The Supreme Court vacated the holdings.

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                                NEMAN BROTHERS’ BRIEF
                ON THE U.S. SUPREME COURT’S DECISION IN UNICOLORS, INC.
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 1
            In other words, the knowledge inquiry includes the legal question of whether the
     registration applicant knew a certain fact would run afoul of a certain legal
 2
     requirement for copyright registrations. The copyright applications ask legal questions
 3
     requiring the applicant’s knowledge of law to be able to provide the accurate answers
 4
     thereto. In Unicolors, the question was whether the designs were “published” which
 5
     appears to be a simple question, but it required the knowledge about the legal question of
 6
     what publication legally means and the legal requirement that all of the designs in the
 7
     application should be unpublished. Likewise, in this case, the question was who the
 8
     author is, which again requires knowledges about the legal question of what author
 9
     legally means for the purpose of the copyright application and the legal requirement that
10
     all of the authors should be identified as authors in the application.
11
            Neman’s knowledge of the facts that produced the inaccuracy is insufficient to
12
     demonstrate its knowledge of the inaccuracy under section 411(b)(1)(A). Neman’s
13
     knowledge of the relevant law is relevant. The safe harbor excuses mistakes of law. In
14
     this case, there is no evidence Interfocus presented to show Neman’s actual knowledge
15
     that the legal concept of author includes all of the design studios that sold some of the
16
     designs in the registrations and that in response to the application’s inquiry about the
17
     author, Neman was legally required to identify all of the studio names due to 37 C.F.R. §
18
     202.4(c)(7) (2019) that did not even exist at the time of Neman’s submitting the
19   applications.
20          Neman had no reason to knowingly give inaccurate information as Neman owned
21   all of the designs in the application anyways. Neman, had it known the legal requirement,
22   would have provided all of the accurate information, both factual and legal. As in
23   Unicolors, the issue was merely about lack of knowledge of law.
24          “If [Neman] was not aware of the legal requirement that rendered the
25   information in its application inaccurate, it did not include that information in its
26   application “with knowledge that it was inaccurate.” (emphasis added) Id. at 4.
27   Nothing in the statutory language suggests that this straightforward conclusion should be
28   any different simply because there was a mistake of law as opposed to a mistake of fact.”

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                                NEMAN BROTHERS’ BRIEF
                ON THE U.S. SUPREME COURT’S DECISION IN UNICOLORS, INC.
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 1
     Id. at 4. The maxim that “ignorance of the law is no excuse” does not apply in this civil
     case concerning the scope of a safe harbor that arises from ignorance of collateral legal
 2
     requirements. Id. at 6.
 3
            Further, that inadvertent mistakes on registration certificates [did] not
 4
     invalidate a copyright and thus [did] not bar infringement actions. Id. at 5. In this
 5
     case, the alleged failure to give the information about all of the authors is not the issue of
 6
     invalidation, but merely an immaterial issue of supplementation. The Office’s
 7
     Compendium3 states a supplementary registration can be used to correct an error or
 8
     omission involving the author(s) of the work. Compendium §503.2 (3d ed. 2021) (citing
 9
     37 C.F.R. § 202.6(d)(3)(i)). If two or more authors created the work and some of the
10
     authors were not named, the names of the missing authors may be added to the
11
     registration record with a supplementary registration. Compendium §503.2 (3d ed. 2021).
12
     This inadvertent mistake argument did not matter when this Court issued the ruling (DKT
13
     No. 82) due to the 9th Circuit Court’s decision back in the days, but now, it does. Section
14
     411 was never triggered, and the safe harbor arises from ignorance of collateral legal
15
     requirements and therefore applies to this case.
16
17
            Accordingly, under the Supreme Court’s recent decision, vacating the 9th Circuit
18
     Court’s decision which the Court’s ruling (DKT No. 82) relied upon, the ruling that “17
19   U.S.C. § 411 's statutory criteria are satisfied, and that it must issue a request to the
20   Register of Copyrights to advise the Court whether knowledge of the third-party
21   authorship of works included in VAu-1-304-334, VAu-1-317-742, and V Au-1-330-970
22   would have caused the register to refuse registration", should be vacated, and the inquiry
23   to the U.S. Copyright Office should be withdrawn.
24
25   Dated: March 3, 2022
26                                                       Respectfully submitted,
                                                        _/s/Chan Yong Jeong______
27
                                                         Chan Yong Jeong, Esq.
28                                                       Attorney for Plaintiff
                                          8
                                NEMAN BROTHERS’ BRIEF
                ON THE U.S. SUPREME COURT’S DECISION IN UNICOLORS, INC.
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15                                EXHIBIT “A”
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                            NEMAN BROTHERS’ BRIEF
            ON THE U.S. SUPREME COURT’S DECISION IN UNICOLORS, INC.
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Unicolors, Inc. v. H&M Hennes & Mauritz, L. P., --- S.Ct. ---- (2022)
2022 WL 547681




                                             2022 WL 547681
                               Only the Westlaw citation is currently available.
                                     Supreme Court of the United States.
                                        UNICOLORS, INC., Petitioner
                                                   v.
                                       H&M HENNES & MAURITZ, L. P.
                                                     No. 20-915
                                                          |
                                              Argued November 8, 2021
                                                          |
                                              Decided February 24, 2022


Synopsis
Background: Textile designer filed suit against clothing retailer for copyright infringement, based on
fabric design that retailer had used on jackets and skirts. Following jury trial, the United States District
Court for the Central District of California, Andre Birotte, J., entered judgment in favor of textile
designer, denied clothing retailer’s motions for judgment as a matter of law, 2018 WL 10307045, and
awarded textile designer attorney fees, 2018 WL 6016989. Clothing retailer appealed. The Court of
Appeals for the Ninth Circuit, Bea, Senior Circuit Judge, 959 F.3d 1194, reversed and remanded with
instructions. Certiorari was granted.


[Holding:] The Supreme Court, Justice Breyer, held that the lack of either factual or legal knowledge on
the part of a copyright holder can excuse an inaccuracy in a copyright registration under the Copyright
Act’s safe-harbor provision.


Vacated and remanded.

Justice Thomas filed a dissenting opinion in which Justice Alito joined and in which Justice Gorsuch
joined in part.

Procedural Posture(s): Petition for Writ of Certiorari; On Appeal; Motion for Judgment as a Matter of
Law (JMOL)/Directed Verdict.



 West Headnotes (14)


[1]     Copyrights and Intellectual Property Registration and deposit
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Unicolors, Inc. v. H&M Hennes & Mauritz, L. P., --- S.Ct. ---- (2022)
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        A valid copyright registration provides a copyright holder with important and sometimes
        necessary legal advantages; for example, it is a prerequisite for bringing a “civil action for
        infringement” of the copyrighted work. 17 U.S.C.A. § 411(a).




[2]     Copyrights and Intellectual Property Registration as prerequisite for recovery
        Copyrights and Intellectual Property Registration as prerequisite for award

        A plaintiff in a copyright infringement action normally cannot obtain an award of statutory
        damages or attorney fees for infringement that occurred prior to registration. 17 U.S.C.A. § 412.




[3]     Copyrights and Intellectual Property Application for registration

        To obtain copyright registration, the author of a work must submit to the Register of Copyrights
        a copy of the work and an application which provides information about the work, some of
        which is purely factual but some of which incorporates legal conclusions. 17 U.S.C.A. §§ 408,
        409.




[4]     Copyrights and Intellectual Property Certificate of registration

        If the Register of Copyrights determines that a work is copyrightable and meets other statutory
        requirements, she will issue a certificate of registration containing information that reflects the
        information the copyright holder provided on its application. 17 U.S.C.A. § 410(a).




[5]     Copyrights and Intellectual Property Certificate of registration
        Copyrights and Intellectual Property False, fraudulent, or improper registration; cancellation

        A certificate of registration for a copyrighted work is valid even though it contains inaccurate
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Unicolors, Inc. v. H&M Hennes & Mauritz, L. P., --- S.Ct. ---- (2022)
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        information, as long as the copyright holder lacked knowledge that it was inaccurate. 17
        U.S.C.A. § 411(b)(1)(A).




[6]     Copyrights and Intellectual Property Certificate of registration
        Copyrights and Intellectual Property False, fraudulent, or improper registration; cancellation

        Copyright Act’s safe-harbor provision, which states that a certificate of registration is valid, even
        though it contains inaccurate information, so long as the copyright holder lacked “knowledge
        that it was inaccurate,” does not distinguish between a mistake of law and a mistake of fact; lack
        of knowledge of either fact or law can excuse an inaccuracy in a copyright registration. 17
        U.S.C.A. § 411(b)(1)(A).




[7]     Statutes Particular Words and Phrases

        For purposes of statutory construction, the word “knowledge” means the fact or condition of
        being aware of something.




[8]     Copyrights and Intellectual Property Certificate of registration
        Copyrights and Intellectual Property False, fraudulent, or improper registration; cancellation

        Congress enacted the Copyright Act’s safe-harbor provision to make it easier, not more difficult,
        for nonlawyers to obtain valid copyright registrations. 17 U.S.C.A. § 411(b).




[9]     Copyrights and Intellectual Property Certificate of registration
        Copyrights and Intellectual Property False, fraudulent, or improper registration; cancellation

        In determining the applicability of the Copyright Act’s safe-harbor provision, courts need not
        automatically accept a copyright holder’s claim that it was unaware of the relevant legal
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Unicolors, Inc. v. H&M Hennes & Mauritz, L. P., --- S.Ct. ---- (2022)
2022 WL 547681

        requirements of copyright law. 17 U.S.C.A. § 411(b)(1)(A).




[10] Copyrights and Intellectual Property Certificate of registration
     Copyrights and Intellectual Property False, fraudulent, or improper registration; cancellation

        In determining the applicability of the Copyright Act’s safe-harbor provision in a case, as in
        other civil cases, willful blindness may support a finding of actual knowledge. 17 U.S.C.A. §
        411(b)(1)(A).




[11] Copyrights and Intellectual Property Certificate of registration
     Copyrights and Intellectual Property False, fraudulent, or improper registration; cancellation

        Circumstantial evidence, including the significance of the legal error, the complexity of the
        relevant rule, the applicant’s experience with copyright law, and other such matters, may lead a
        court to find that an applicant was actually aware of, or willfully blind to, legally inaccurate
        information, for purposes of determining the applicability of the Copyright Act’s safe-harbor
        provision. 17 U.S.C.A. § 411(b)(1)(A).




[12] Criminal Law Ignorance or mistake of law

        Legal maxim that “ignorance of the law is no excuse” normally applies where a defendant has
        the requisite mental state in respect to the elements of a crime but claims to be unaware of the
        existence of a statute proscribing his conduct.




[13] Federal Courts Scope and Extent of Review

        Following grant of certiorari, the Supreme Court would decide the question argued by the
        parties, even if the petition for certiorari did not address it, where the question was a subsidiary
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2022 WL 547681

        question fairly included in the petition’s question presented.




[14] Fraud Knowledge of defendant
     Fraud Materiality of matter represented or concealed

        “Fraud” typically requires a knowing misrepresentation of a material fact.




                                                         Syllabus*
*1 A valid copyright registration provides a copyright holder with important legal advantages, including
the right to bring a “civil action for infringement” of the copyrighted work. 17 U.S.C. § 411(a).
Petitioner Unicolors, the owner of copyrights in various fabric designs, filed a copyright infringement
action against H&M Hennes & Mauritz (H&M). A jury found in favor of Unicolors. H&M sought
judgment as a matter of law, arguing that Unicolors could not maintain an infringement suit because
Unicolors knowingly included inaccurate information on its registration application, rendering its
copyright registration invalid. The alleged inaccuracy stemmed from Unicolors having filed a single
application seeking registration for 31 separate works despite a Copyright Office regulation that
provides that a single application may cover multiple works only if they were “included in the same unit
of publication.” H&M argued that Unicolors did not meet this requirement because Unicolors had
initially made some of the 31 designs available for sale exclusively to certain customers, while offering
the rest to the general public. The District Court determined that because Unicolors did not know when
it filed its application that it had failed to satisfy the “single unit of publication” requirement, Unicolors’
copyright registration remained valid by operation of the safe harbor provision provided under §
411(b)(1)(A). On appeal, the Ninth Circuit determined that it did not matter whether Unicolors was
aware that it had failed to satisfy the single unit of publication requirement, because the safe harbor
excuses only good-faith mistakes of fact, not law. Unicolors had known the relevant facts, so its
knowledge of the law (or lack thereof) was irrelevant.

Held: Section 411(b) does not distinguish between a mistake of law and a mistake of fact; lack of either
factual or legal knowledge can excuse an inaccuracy in a copyright registration under § 411(b)(1)(A)’s
safe harbor. Pp. –––– – ––––.

(a) The Copyright Act provides that a certificate of registration is valid, even though it contains
inaccurate information, as long as the copyright holder lacked “knowledge that it was inaccurate.” §

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411(b)(1)(A). Case law and the dictionary instruct that “knowledge” has historically “meant and still
means the fact or condition of being aware of something.” Intel Corp. Investment Policy Comm. v.
Sulyma, 589 U. S. ––––, –––– (internal quotation marks omitted). Nothing in § 411(b)(1)(A) suggests
that the safe harbor applies differently simply because an applicant made a mistake of law as opposed to
a mistake of fact. If Unicolors was not aware of the legal requirement that rendered information in its
application inaccurate, it could not have included the inaccurate information “with knowledge that it was
inaccurate.” § 411(b)(1)(A). Pp. –––– – ––––.

(b) Nearby statutory provisions help confirm that here “knowledge” refers to knowledge of the law as
well as the facts. Registration applications call for information that requires both legal and factual
knowledge. See, e.g., § 409(4) (whether a work was made “for hire”); § 409(8) (when and where the
work was “published”); § 409(9) (whether the work is “a compilation or derivative work”). Inaccurate
information in a registration may arise from a mistake of law or a mistake of fact. Nothing in the
statutory language suggests that Congress wanted to forgive applicants—many of whom lack legal
training—for factual but not (often esoteric) legal mistakes. Moreover, had Congress intended a scienter
requirement other than actual knowledge, it would have said so explicitly, as it did in other parts of the
Copyright Act. Indeed, cases decided before Congress enacted § 411(b) overwhelmingly concluded that
inadvertent mistakes on registration certificates—many of which involved mistakes of law—neither
invalidated copyright registrations nor disallowed infringement actions. The Court finds no indication
that Congress intended to alter this well-established rule when it enacted § 411(b). Pp. –––– – ––––.

*2 (c) Those who consider legislative history will find indications that Congress enacted § 411(b) to
make it easier, not more difficult, for nonlawyers to obtain valid copyright registrations. It did so in part
by “eliminating loopholes” that allowed infringers to exploit mistakes in the application process to
prevent enforcement of otherwise validly registered copyrights. H. R. Rep. No. 110–617, p. 20. Given
this history, it would make no sense if § 411(b) left copyright registrations exposed to invalidation based
on applicants’ good-faith misunderstandings of the details of copyright law. P. ––––.

(d) H&M’s remaining arguments are unavailing. First, the Court’s interpretation of the statute will not
allow copyright holders to avoid the consequences of an inaccurate application by claiming lack of
knowledge. As in other legal contexts, courts need not automatically accept a copyright holder’s claim
that it was unaware of the relevant legal requirements. Willful blindness may support a finding of actual
knowledge. Additionally, circumstantial evidence may demonstrate that an applicant was actually aware
of, or willfully blind to, legally inaccurate information. Second, the legal maxim that “ignorance of the
law is no excuse” does not apply in this civil case concerning the scope of a statutory safe harbor that
arises from ignorance of collateral legal requirements. Finally, the “knowledge” question that the parties
have argued, and which the Court decides, was a “subsidiary question fairly included” in the petition’s
question presented. See this Court’s Rule 14.1(a). And the Ninth Circuit explicitly addressed the
knowledge issue when it held that Unicolors’ “knowledge” of the facts underlying the inaccuracy on its
application was sufficient to demonstrate knowledge under § 411(b)(1)(A) without regard to Unicolors’
knowledge of the relevant law. Pp. –––– – ––––.

   959 F.3d 1194, vacated and remanded.

BREYER, J., delivered the opinion of the Court, in which ROBERTS, C. J., and SOTOMAYOR,

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KAGAN, KAVANAUGH, and BARRETT, JJ., joined. THOMAS, J., filed a dissenting opinion, in
which ALITO, J. joined, and in which GORSUCH, J. joined, except as to Part II.


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Opinion


Justice BREYER delivered the opinion of the Court.

[1] [2]
     A valid copyright registration provides a copyright holder with important and sometimes necessary
legal advantages. It is, for example, a prerequisite for bringing a “civil action for infringement” of the
copyrighted work. 17 U.S.C. § 411(a). Additionally, a plaintiff in an infringement action normally
cannot obtain an award of statutory damages or attorney’s fees for infringement that occurred prior to
registration. § 412.
[3] [4]
     To obtain registration, the author of a work must submit to the Register of Copyrights a copy of the
work and an application. §§ 408, 409. The application must provide information about the work. § 409.
Some of this information is purely factual, but some of it incorporates legal conclusions. Ibid. If the
Register determines that the work is copyrightable and meets other statutory requirements, she will issue
a certificate of registration. § 410(a). The information on this certificate reflects the information that the
copyright holder provided on the application. Ibid.

Naturally, the information provided on the application for registration should be accurate. Nevertheless,
the Copyright Act provides a safe harbor. It says that a certificate of registration is valid
   “regardless of whether the certificate contains any inaccurate information, unless—
   “(A) the inaccurate information was included on the application for copyright registration with

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      knowledge that it was inaccurate; and
      *3 “(B) the inaccuracy of the information, if known, would have caused the Register of Copyrights to
      refuse registration.” § 411(b)(1) (emphasis added).
[5]
  The important point for our purposes is that a certificate of registration is valid even though it contains
inaccurate information, as long as the copyright holder lacked “knowledge that it was inaccurate.” §
411(b)(1)(A).
[6]
  The question before us concerns the scope of the phrase “with knowledge that it was inaccurate.” The
Court of Appeals for the Ninth Circuit believed that a copyright holder cannot benefit from the safe
harbor and save its copyright registration from invalidation if its lack of knowledge stems from a failure
to understand the law rather than a failure to understand the facts. In our view, however, § 411(b) does
not distinguish between a mistake of law and a mistake of fact. Lack of knowledge of either fact or law
can excuse an inaccuracy in a copyright registration. We therefore vacate the Court of Appeals’ contrary
holding.




                                                              I
The petitioner here, Unicolors, owns copyrights in various fabric designs. App. 50–51. It sued the
respondent, H&M Hennes & Mauritz, L.P. (H&M), for copyright infringement. 959 F.3d 1194, 1195
(CA9 2020). The jury found in Unicolors’ favor, but H&M asked the trial court to grant it judgment as a
matter of law.      Id., at 1196–1197. H&M argued, among other things, that Unicolors’ registration
certificate was invalid (and that therefore Unicolors could not sue for infringement) because it contained
inaccurate information.       Id., at 1197–1198; see also § 411(a). Specifically, H&M argued that
Unicolors’ registration certificate was inaccurate because Unicolors had improperly filed a single
application seeking registration for 31 separate works. App. 91–92, 170–172. H&M relied on a
Copyright Office regulation, which provides that a single registration can cover multiple works only if
those works were “included in the same unit of publication.” Id., at 170 (emphasis added); 37 C.F.R.
§ 202.3(b)(4) (2020). H&M argued that the 31 fabric designs covered by Unicolors’ single application
(and therefore single registration) had not been published as a single unit of publication because
Unicolors had initially made some of the designs available for sale exclusively to certain customers,
while other designs were immediately available to the general public. App. 170–171. Because the first
statutory requirement for invalidating Unicolors’ registration (a knowing inaccuracy) was satisfied,
H&M argued, the District Court should move to the second requirement and ask the Register of
Copyrights whether it would have refused to register Unicolors’ copyright if it had been aware of the
inaccuracy. Id., at 172–173; see also §§ 411(b)(1)(B), (b)(2).

The District Court denied H&M’s motion. Id., at 202. Among other things, it noted that “a registration
remains effective despite containing inaccurate information” if the registrant included the inaccurate
information in the registration application without “knowledge that it was inaccurate.” Id., at 180–181
(internal quotation marks omitted). Because Unicolors did not know that it had failed to satisfy the
“single unit of publication” requirement when it filed its application, the purported inaccuracy could not

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invalidate the registration. Id., at 182.

*4 The Ninth Circuit disagreed. It agreed with H&M that Unicolors had failed to satisfy the “single unit
of publication” requirement (because it offered some of the 31 designs exclusively to certain customers).
   959 F.3d, at 1198–1200. But did Unicolors know about this inaccuracy? In the Ninth Circuit’s view, it
did not matter whether Unicolors did or did not know that it had failed to satisfy the “single unit of
publication” requirement.    Id., at 1200. That was because, in the Ninth Circuit’s view, the statute
excused only good-faith mistakes of fact, not law. Ibid. And Unicolors had known the relevant facts,
namely, that some of the 31 designs had initially been reserved for certain customers. Ibid.

Unicolors sought certiorari, asking us to review the Ninth Circuit’s interpretation of § 411(b)(1)(A). We
granted the petition.




                                                             II
A brief analogy may help explain the issue we must decide. Suppose that John, seeing a flash of red in a
tree, says, “There is a cardinal.” But he is wrong. The bird is not a cardinal; it is a scarlet tanager. John’s
statement is inaccurate. But what kind of mistake has John made?

John may have failed to see the bird’s black wings. In that case, he has made a mistake about the brute
facts. Or John may have seen the bird perfectly well, noting all of its relevant features, but, not being
much of a birdwatcher, he may not have known that a tanager (unlike a cardinal) has black wings. In
that case, John has made a labeling mistake. He saw the bird correctly, but does not know how to label
what he saw. Here, Unicolors’ mistake is a mistake of labeling. But unlike John (who might consult an
ornithologist about the birds), Unicolors must look to judges and lawyers as experts regarding the proper
scope of the label “single unit of publication.” The labeling problem here is one of law. Does that
difference matter here? Cf. United States v. Fifty-Three (53) Eclectus Parrots, 685 F.2d 1131, 1137
(CA9 1982). We think it does not.

[7]
  Our reasons are straightforward. For one thing, we follow the text of the statute. See Hardt v.
Reliance Standard Life Ins. Co., 560 U.S. 242, 251, 130 S.Ct. 2149, 176 L.Ed.2d 998 (2010). Section
411(b)(1) says that Unicolors’ registration is valid “regardless of whether the [registration] certificate
contains any inaccurate information, unless ... the inaccurate information was included on the
application for copyright registration with knowledge that it was inaccurate.” Both case law and the
dictionary tell us that “knowledge” has historically “meant and still means ‘the fact or condition of being
aware of something.’ ” Intel Corp. Investment Policy Comm. v. Sulyma, 589 U. S. ––––, ––––, 140
S.Ct. 768, 776, 206 L.Ed.2d 103 (2020) (quoting Webster’s Seventh New Collegiate Dictionary 469
(1967)); see also Black’s Law Dictionary 888 (8th ed. 2004); New Oxford American Dictionary 938
(def. 2) (2d ed. 2005); Webster’s New College Dictionary 625 (3d ed. 2008).

Unicolors says that, when it submitted its registration application, it was not aware (as the Ninth Circuit
would later hold) that the 31 designs it was registering together did not satisfy the “single unit of

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publication” requirement. If Unicolors was not aware of the legal requirement that rendered the
information in its application inaccurate, it did not include that information in its application “with
knowledge that it was inaccurate.” § 411(b)(1)(A) (emphasis added). Nothing in the statutory language
suggests that this straightforward conclusion should be any different simply because there was a mistake
of law as opposed to a mistake of fact.

To the contrary, nearby statutory provisions help confirm that here “knowledge” refers to knowledge of
the law as well as the facts. Registration applications call for information that requires both legal and
factual knowledge. See, e.g., § 409(4) (whether a work was made “for hire”); § 409(8) (when and where
the work was “published”); § 409(9) (whether the work is “a compilation or derivative work”).
Inaccurate information in a registration is therefore equally (or more) likely to arise from a mistake of
law as a mistake of fact. That is especially true because applicants include novelists, poets, painters,
designers, and others without legal training. Nothing in the statutory language suggests that Congress
wanted to forgive those applicants’ factual but not their (often esoteric) legal mistakes.

*5 Other provisions of the Copyright Act confirm that, in this context, the word “knowledge” means
actual, subjective awareness of both the facts and the law. Those provisions suggest that if Congress had
intended to impose a scienter standard other than actual knowledge, it would have said so explicitly. See,
e.g., § 121A(a) (safe harbor for entities that “did not know or have reasonable grounds to know” that
exported works would be used by ineligible persons); § 512(c)(1)(A) (safe harbor for internet service
providers who are not actually aware of infringing activities on their systems and are “not aware of facts
or circumstances from which infringing activity is apparent”); § 901(a)(8) (“ ‘notice of protection’ ”
requires “actual knowledge ... or reasonable grounds to believe” that a “work is protected”); § 1202(b)
(civil remedies for certain acts performed by a person who knows or has “reasonable grounds to know”
that he or she was facilitating infringement); § 1401(c)(6)(C)(ii) (for purposes of paragraph regarding
the “[u]nauthorized use of pre-1972 sound recordings,” “knowing” includes one who “has actual
knowledge,” “acts in deliberate ignorance of the truth or falsity of the information,” or “acts in grossly
negligent disregard of the truth or falsity of the information”). The absence of similar language in the
statutory provision before us tends to confirm our conclusion that Congress intended “knowledge” here
to bear its ordinary meaning. See Nken v. Holder, 556 U.S. 418, 430, 129 S.Ct. 1749, 173 L.Ed.2d
550 (2009).
[8]
  For another thing, cases decided before Congress enacted § 411(b) “overwhelming[ly held] that
inadvertent mistakes on registration certificates [did] not invalidate a copyright and thus [did] not bar
infringement actions.” Urantia Foundation v. Maaherra, 114 F.3d 955, 963 (CA9 1997). Many of
those cases involved mistakes of law. See, e.g., id., at 961, 963; Billy-Bob Teeth, Inc. v. Novelty,
Inc., 329 F.3d 586, 591 (CA7 2003); Advisers, Inc. v. Wiesen-Hart, Inc., 238 F.2d 706, 707–708
(CA6 1956) (per curiam). We can find no indication that Congress intended to alter this well-established
rule when it enacted § 411(b). See Davis v. Michigan Dept. of Treasury, 489 U.S. 803, 813, 109 S.Ct.
1500, 103 L.Ed.2d 891 (1989) (“When Congress codifies a judicially defined concept, it is presumed,
absent an express statement to the contrary, that Congress intended to adopt the interpretation placed on
that concept by the courts”); see also Kirtsaeng v. John Wiley & Sons, Inc., 568 U.S. 519, 538, 133
S.Ct. 1351, 185 L.Ed.2d 392 (2013) (similar).

Further, those who consider legislative history will find that history persuasive here. It indicates that
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Congress enacted § 411(b) to make it easier, not more difficult, for nonlawyers to obtain valid copyright
registrations. The House Report states that its purpose was to “improve intellectual property
enforcement in the United States and abroad.” H. R. Rep. No. 110–617, p. 20 (2008). It did so in part by
“eliminating loopholes that might prevent enforcement of otherwise validly registered copyrights.” Ibid.
The Report specifically notes that some defendants in copyright infringement cases had “argued ... that a
mistake in the registration documents, such as checking the wrong box on the registration form, renders
a registration invalid and thus forecloses the availability of statutory damages.” Id., at 24. Congress
intended to deny infringers the ability to “exploi[t] this potential loophole.” Ibid. Of course, an applicant
for a copyright registration—especially one who is not a lawyer—might check the wrong box on the
registration documents as a result of a legal, as well as a factual, error. Given this history, it would make
no sense if § 411(b) left copyright registrations exposed to invalidation based on applicants’ good-faith
misunderstandings of the details of copyright law.




                                                             III
[9] [10] [11]
        H&M argues that our interpretation of the statute will make it too easy for copyright holders, by
claiming lack of knowledge, to avoid the consequences of an inaccurate application. But courts need not
automatically accept a copyright holder’s claim that it was unaware of the relevant legal requirements of
copyright law. We have recognized in civil cases that willful blindness may support a finding of actual
knowledge. Intel Corp., 589 U. S., at –––– – ––––, 140 S.Ct., at 778–79. Circumstantial evidence,
including the significance of the legal error, the complexity of the relevant rule, the applicant’s
experience with copyright law, and other such matters, may also lead a court to find that an applicant
was actually aware of, or willfully blind to, legally inaccurate information. See id., at ––––, 140 S.Ct.,
at 778–79.

*6 [12]H&M also argues that our interpretation is foreclosed by the legal maxim that “ignorance of the
law is no excuse.” See Brief for Respondent 41–43. This maxim “normally applies where a defendant
has the requisite mental state in respect to the elements of [a] crime but claims to be unaware of the
existence of a statute proscribing his conduct.” Rehaif v. United States, 588 U. S. ––––, ––––, 139
S.Ct. 2191, 2198, 204 L.Ed.2d 594 (2019) (internal quotation marks omitted). It does not apply in this
civil case concerning the scope of a safe harbor that arises from ignorance of collateral legal
requirements. See ibid.
[13] [14]
       Finally, H&M claims that neither Unicolors’ petition for certiorari nor the Ninth Circuit’s opinion
addressed the question we decide here. The petition, however, asked us to decide whether a registration
may be invalidated under § 411(b) even though there are no “indicia of fraud ... as to the work at issue in
the subject copyright registration.” Pet. for Cert. i. Fraud typically requires “[a] knowing
misrepresentation ... of a material fact.” Black’s Law Dictionary 802 (11th ed. 2019) (emphasis added).
If, as the Ninth Circuit concluded, § 411(b)(1)(A) does not require “knowledge” of legal errors, then it
does not always require knowledge of the misrepresentation in the registration application, and therefore
does not require the typical elements of fraud. Thus, the “knowledge” question that the parties have
argued, and which we decide, was a “subsidiary question fairly included” in the petition’s question
presented. See this Court’s Rule 14.1(a).
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As to the decision below, the Ninth Circuit wrote that “the knowledge inquiry is not whether Unicolors
knew that including a mixture of confined and non-confined designs would run afoul of the single-unit
registration requirements; the inquiry is merely whether Unicolors knew that certain designs included in
the registration were confined and, therefore, were each published separately to exclusive customers.”
   959 F.3d at, 1200. In context, we understand this statement to hold that Unicolors’ “knowledge” of
the facts that produced the inaccuracy was sufficient to demonstrate its knowledge of the inaccuracy
itself under § 411(b)(1)(A). Unicolors’ knowledge of the relevant law was irrelevant. The Ninth Circuit
therefore explicitly addressed the question we here decide.

                                                           ***

For these reasons, the judgment of the Ninth Circuit is vacated, and the case is remanded for further
proceedings consistent with this opinion.

It is so ordered.




Justice THOMAS, with whom Justice ALITO joins, and with whom Justice GORSUCH joins as to all
but Part II, dissenting.

A copyright registration is invalid if the registrant included materially inaccurate information in its
application “with knowledge that [the information] was inaccurate.” 17 U.S.C. § 411(b)(1)(A). In its
petition for certiorari, Unicolors asked us to decide a question on which the Courts of Appeals were
split: whether § 411(b)(1)(A)’s “knowledge” element requires “indicia of fraud.” Pet. for Cert. i.
Specifically, Unicolors argued that “knowledge” requires “inten[t] to defraud the Copyright Office.” Id.,
at 7.

Yet now, after having “persuaded us to grant certiorari on this issue,” Unicolors has “chosen to rely on a
different argument in [its] merits briefing.” Visa Inc. v. Osborn, 580 U. S. ––––, ––––, 137 S.Ct. 289,
196 L.Ed.2d 396 (2016) (internal punctuation altered). It no longer argues that § 411(b)(1)(A) requires
fraudulent intent and instead proposes a novel “actual knowledge” standard. Because I would not reward
Unicolors for its legerdemain, and because no other court had, before today, ever addressed whether §
411(b)(1)(A) requires “actual knowledge,” I would dismiss the writ of certiorari as improvidently
granted.




                                                              I


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*7 We should dismiss this case for the reasons we gave in City and County of San Francisco v.
Sheehan, 575 U.S. 600, 135 S.Ct. 1765, 191 L.Ed.2d 856 (2015), and Yee v. Escondido, 503 U.S. 519,
112 S.Ct. 1522, 118 L.Ed.2d 153 (1992). In Sheehan, we granted review to resolve a Circuit split and
decide whether the Americans with Disabilities Act requires law enforcement officers to provide
reasonable accommodations to armed, violent, and mentally ill criminals while arresting them. 575
U.S., at 608, 135 S.Ct. 1765. But after the petitioners’ opening brief “effectively concede[d]” that it may
and pressed a narrower, “qualified” version of the original argument, id., at 609, 135 S.Ct. 1765, we
dismissed the case for lack of “adversary presentation” of the question presented, id., at 610, 135 S.Ct.
1765. In Yee, the petitioner raised an argument that was not clearly pressed or passed upon below,
that was not the subject of a known circuit split, and that, in fact, no court in the country had squarely
addressed before. See 503 U.S., at 534, 537–538, 112 S.Ct. 1522. We declined to “be the first court
in the Nation” to decide the petitioner’s novel legal question. Id., at 538, 112 S.Ct. 1522.

These considerations counsel dismissal here. First, Unicolors has abandoned the actual question
presented and now presses novel arguments in favor of reversal. We took this case to resolve an
apparent split between the Eleventh Circuit, which has held that § 411(b)(1)(A) requires “deceptive
intent,” Roberts v. Gordy, 877 F.3d 1024, 1030 (2017), and the Ninth Circuit, which held below that
“there is no such intent-to-defraud requirement,” 959 F.3d 1194, 1198 (2020) (citing Gold Value Int’l
Textile, Inc. v. Sanctuary Clothing, LLC, 925 F.3d 1140, 1147 (CA9 2019)). Agreeing with the Eleventh
Circuit, Unicolors argued in its petition for certiorari that “knowledge” requires “inten[t] to defraud.” Pet.
for Cert. 7. But now, siding with the Ninth Circuit, Unicolors contends that a mere “knowing failure”
satisfies § 411(b)(1)(A). Brief for Petitioner 33, 37 (internal quotation marks omitted). The United States,
as amicus supporting Unicolors, agrees. See Brief for United States as Amicus Curiae 25, n. 5. And,
obviously, so does H&M. See Brief for Respondent 1. Thus, no party or amicus before us supports the
Eleventh Circuit’s position. Without “adversary presentation” on the actual question presented, we
should dismiss. Sheehan, 575 U.S., at 610, 135 S.Ct. 1765.

Second, as in Yee, Unicolors’ new merits-stage arguments present novel legal questions. Unicolors
claims that “knowledge” in § 411(b)(1)(A) is satisfied only by actual knowledge (i.e., an applicant
subjectively knew of an inaccuracy) rather than actual or constructive knowledge (i.e., an applicant
should have known of an inaccuracy). It further contends that a copyright applicant must actually know
that it is misapplying a legal standard rather than simply misstating the facts.

It is undisputed that Unicolors raised neither point below. It is also undisputed that there is no circuit
split on either of Unicolors’ new arguments. And it is clear that the Court of Appeals did not
meaningfully consider these questions. It said nothing about actual versus constructive knowledge, see
    959 F.3d, at 1200, and it merely implied, in a cursory sentence, that § 411(b)(1)(A) requires
knowledge of facts and not law, see ante, at –––– (citing 959 F.3d at, 1200). Other than this halfway
relevant and completely unreasoned statement, the Court cites no other opinion from any court that
interprets § 411(b)(1)(A). Thus, we are the “first court in the Nation” to decide the important questions
that Unicolors belatedly presents.      Yee, 503 U.S., at 538, 112 S.Ct. 1522. I would decline the
invitation to take that imprudent step.

The Court disputes none of this. Instead, it reasons that Unicolors’ new arguments are “ ‘fairly
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included’ ” in the question presented because, even though Unicolors originally proposed a fraud
standard, it now argues for at least an element of that standard: actual knowledge of a misrepresentation.
Ante, at –––– (quoting this Court’s Rule 14.1(a)).

The Court misapplies Rule 14.1(a). An argument is “fairly included” only if it raises a “prior question.”
   Lebron v. National Railroad Passenger Corporation, 513 U.S. 374, 381, 115 S.Ct. 961, 130 L.Ed.2d
902 (1995). That is, resolving the new argument must be “a predicate to an intelligent resolution of the
question presented.” Ohio v. Robinette, 519 U.S. 33, 38, 117 S.Ct. 417, 136 L.Ed.2d 347 (1996)
(internal quotation marks omitted). Here, to decide whether § 411(b)(1)(A) requires fraud, we do not
first need to decide what kind of knowledge fraud requires. To the contrary, it makes more sense to
establish the correct legal standard before deciding what satisfies its elements. Cf. Manuel v. Joliet,
580 U. S. ––––, –––– – ––––, n. 1, 137 S.Ct. 911, 923–24, n. 1, 197 L.Ed.2d 312 (2017) (ALITO, J.,
dissenting). This case proves the point: Unicolors effectively concedes that § 411(b)(1)(A) has no
fraudulent-intent requirement and then asks us to hold that the provision nevertheless requires actual
rather than constructive knowledge, and knowledge of legal and factual misstatements rather than
knowledge of factual misstatements alone. Evidently, Unicolors can discern whether the statute requires
fraud without addressing those questions. Likewise, the Ninth Circuit has held that § 411(b)(1)(A) does
not require fraud based on its “plain language.” Gold Value, 925 F.3d, at 1147. In reaching that
conclusion, the Court of Appeals did not address the actual-versus-constructive-knowledge issue, and it
reserved the law-versus-fact issue. See ibid. In short, deciding whether § 411(b)(1)(A) requires a
particular element of fraud is not “prior” to deciding whether fraud is the proper standard in the first
place.

*8 But even if Unicolors’ arguments were “prior” questions, the Court still misapplies Rule 14.1(a). We
are free to address “subsidiary question[s]” in deciding “any question presented.” This Court’s Rule
14.1(a) (emphasis added). Put another way, the subsidiary questions must be “inextricably linked” to the
question under review and necessarily contribute to that question’s resolution.        City of Sherrill v.
Oneida Indian Nation of N. Y., 544 U.S. 197, 214, n. 8, 125 S.Ct. 1478, 161 L.Ed.2d 386 (2005). Here,
though, the Court never answers the ultimate question about fraud. To provide an incomplete answer to
the question presented disserves the public and our fellow judges. The Court does not decide the
question that has split the Courts of Appeals, but instead decides a question that no court has addressed.
And by granting review of one question but answering another, we encourage litigants “to seek review
of a circuit conflict only then to change the question to one that seems more favorable.” Czyzewski v.
Jevic Holding Corp., 580 U. S. ––––, ––––, 137 S.Ct. 973, 988, 197 L.Ed.2d 398 (2017) (THOMAS, J.,
dissenting); see also Yee, 503 U.S., at 536, 112 S.Ct. 1522 (parties would be “encouraged to fill their
limited briefing space and argument time with discussion of issues other than the one on which certiorari
was granted”). The result is muddled briefing on questions we did not agree to resolve, and a ruling that
bypasses the ordinary process of appellate review.




                                                             II

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In this case, the Court’s misstep comes at considerable cost. A requirement to know the law is ordinarily
satisfied by constructive knowledge, cf. Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich, L. P.
A., 559 U.S. 573, 584, 130 S.Ct. 1605, 176 L.Ed.2d 519 (2010), because “actual knowledge of illegality”
can be “difficult or impossible” to prove, Ratzlaf v. United States, 510 U.S. 135, 162, 114 S.Ct. 655,
126 L.Ed.2d 615 (1994) (Blackmun, J., dissenting). Yet here, the Court imposes an
actual-knowledge-of-law standard that is virtually unprecedented except in criminal tax enforcement.
See Cheek v. United States, 498 U.S. 192, 201–203, 111 S.Ct. 604, 112 L.Ed.2d 617 (1991). And
while the Court claims the word “knowledge” in § 411(b)(1)(A) compels this conclusion, see ante, at
––––, that result is far from certain. In Cheek, this Court required actual knowledge of law in light of
a “willfulness” requirement. 498 U.S., at 201–202, 111 S.Ct. 604. A “knowledge” requirement, by
contrast, often encompasses actual and constructive knowledge. See Intel Corp. Investment Policy
Comm. v. Sulyma, 589 U. S. ––––, –––– – ––––, 140 S.Ct. 768, 776–77, 206 L.Ed.2d 103 (2020).
Moreover, as the Court recognizes, the other knowledge requirements in the Copyright Act are satisfied
by either kind of knowledge. See ante, at ––––. The Court points to no other Copyright Act provision
that is satisfied by actual knowledge alone. That the Court reads § 411(b)(1)(A) to be the lone exception
is dubious. That the Court does so without permitting any other court in the country to first consider the
question is unwise.

                                                           ***

I would dismiss the writ of certiorari as improvidently granted because Unicolors has abandoned the
question presented and instead proposes novel questions of copyright law that no other court addressed
before today. I respectfully dissent.


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                                                        Footnotes


*
       The syllabus constitutes no part of the opinion of the Court but has been prepared by the Reporter
       of Decisions for the convenience of the reader. See United States v. Detroit Timber & Lumber
       Co., 200 U.S. 321, 337.


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